Case een gg Document 12-6 Filed “eo Page 1 of 6

John Monarch - Messages 4/30/14, 5:47 PM

John Monarch

. Ilya Putin, John Monarch

_ llya Bit Tuesday, February 19, 2013 at 3:46am EST

http:/Awww.facebook.com/gamlin/posts/42655394 7423355

John Monarch Tuesday, February 19, 2013 at 3:46am EST
Profile Mobile, not loading. for some reason
Contact Info co - wee
Wail John Monarch Monday, May 27, 2018 at 11:47am EDT

‘a

Photos LOL
Synced Photos John Monarch Monday, May 27, 2018 at 11:47am EDT
Videos

yeees
Friends . - . . - cee
Messages John Monarch Monday, May 27, 2013 at 11:48am EDT
Pokes I'll join hers if Karl falls through which it appears he has
Events ° ~~ Tt me
Settings Ilya Bit Tuesday, June 11, 2013 at 12:47am EDT
Security http://imgur.com/a/ll8ug
Ads 1 :

\lya Bit Tuesday, June 11, 2013 at 12:47am EDT

lol

John Monarch Tuesday, June 11, 2013 at 12:48am EDT

- lol goddamn
John Monarch: Saturday, October 26, 2013 at 12:26pm EDT

_ htips://Atwitter.com/RichGorman101/status/390508848357724161 | guess he knows from
experience

John Monarch Saturday, October 26, 2013 at 12:30pm EDT

Sadly written by Zac Johnson actually, but still applicable

ilya Putin Saturday, October 26, 2013 at 1:40pm EDT

_ haha
John Monarch Friday, December 20, 2013 at 2:10am EST

Looks like he got your twitter banned already

file:/ //Users/monarch/Downloads /facebook-papajohnS6/html/messages.htm Page 1 of 6

John Monarch ~ Messages

Ilya Putin

na refresh

John Monarch

Guess who else just got a legal threat from Gorman

Ilya Putin
karl

John Monarch

me

John Monarch

lol

llya Putin

oh fawd lol

John Monarch

he's doing hail mary legal threats hoping this goes away lol

llya Putin

wonder who else got one

Case aco” Document 12-6 Filed 04/29/21 Page 2

Df 6

4/30/14, 5:47 PM

Friday, December 20, 2013 at 7:32am EST

Saturday, December 21, 2013 at 3:45pm EST

Saturday, December 21, 201

Saturday, December 21, 20

Saturday, December 21, 201

Saturday, December 21, 204

Saturday, December 21, 2014

Saturday, December 21, 201

3 at 4:01pm EST
3 at 4:06pm EST

3 at 4:06pm EST

3 at 4:06pm EST

3 at 4:07pm EST

3 at 4:08pm EST

“Ilya Putin
prolly arikka lolol

John Monarch

wiil laugh if richter did too

- ya Putin
did you get one from both rich and pace?
John Monarch
just rich
John Monarch

So far

Ilya Putin

So you're john doe 1 and karl is john doe 2?

file: / //Users/monarch/Downloads/facebook-papajohn56/htmi/messages.htm

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

3 at 4:08pm EST

3 at 4:08pm EST

B at 4:08pm EST

8 at 4:08pm EST

8 at 4:09pm EST

3 at 4:09pm EST

Page 2 of 6

Case 2:20-cv-04739-CMR Document 12-6 Filed “eo Page 3

John Monarch = Messages

llya Putin

did you see the letter he sent pace as well? lol

John Monarch

lol yes - and [ don't think I'm any of the John Does

John Monarch

since that suit happened before my name came up

Ilya Putin

hes just grasping at straws

Ilya Putin

cause he has no case against PO n such

John Monarch

yep

. John Monarch

trying to shut everyone up

John Monarch

the funnier part to me is he can't find me - the threat went to my mom

John Monarch

she was like ???

llya Putin

lol

llya Putin

. guess i have to do seo on my site now.....

John Monarch

_lol

: John Monarch

this is the third time someone has tried suing or threatening me and couldn't find

John Monarch

Saturday, December 21, 201

Saturday, December 21, 20/1

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 204

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Df 6

4/30/14, 5:47 PM

3 at 4:12pm EST

3 at 4:14pm EST

3 at 4:15pm EST

3 at 4:15pm EST
3 at 4:15pm EST

3 at 4:15pm EST

3 at 4:15pm EST

3 at 4:16pm EST

3 at 4:16pm EST

3 at 4:16pm EST

3 at 4:16pm EST

B at 4:16pm EST

8 at 4:17pm EST

where | live

Saturday, December 21, 201

B at 4:17pm EST

they tried serving someone else for me for a lawsuit over a car accident and it got dropped due

to improper service

file:// /Users/monarch/Downloads/facebook-papajohnS6/html/messages.htm

Page 3 of 6

John Monarch ~ Messages

Ilya Putin

i should somehow make it look like someone else owns po

Ilya Putin

so he keeps sending stuff there

llya Putin

lol

John Monarch

pace lol

llya Putin

ill redirect phili to performinsider or meatspin

llya Putin

- fol .

John Monarch

lol

John Monarch

this just all keeps getting better

John Monarch

he knows his industry rep is in jeopardy

lilya Putin

"the funny thing is

- llya Putin

’ the whole main claim on that letter - is that someone sent him emails

John Monarch

John Monarch
ahaha

John Monarch

it's probably the whole thing with anonymous getting involved

file:/ //Users/monarch/Downloads/facebook-papajohnS6/html/messages.htm

Case een gg” Document 12-6 Filed “eo Page 4

Saturday, December 21, 20

Saturday, December 21, 20

Df 6

4/30/14, 5:47 PM

13 at 4:17pm EST

13 at 4:17pm EST

Saturday, December 21, 2013 at 4:17pm EST

Saturday, December 21, 2013 at 4:18pm EST

Saturday, December 21, 2013 at 4:18pm EST

Saturday, December 21, 20

Saturday, December 21, 20

Saturday, December 21, 20

Saturday, December 21, 20

Saturday, December 21, 20

Saturday, December 21, 20

Saturday, December 21, 20

13 at 4:18pm EST

13 at 4:18pm EST

13 at 4:19pm EST

13 at 4:20pm EST

13 at 4:20pm EST

13 at 4:20pm EST

13 at 4:20pm EST

Saturday, December 21, 2013 at 4:21pm EST

Saturday, December 21, 2013 at 4:21pm EST

Page 4 of 6

Case 2:20-cv-04759-CMR Document 12-6

John Monarch » Messages

Ilya Putin
yup
John Monarch

how did you even find that

Ilya Putin

find what?

John Monarch

pastebin, anon etc

John Monarch

cray

Ilya Putin

oh - it ranked for his name

llya Putin

before he got it removed

- John Monarch

Apparently Gorman is asking around about me, he thinks | own PO and‘that you!

: Ilya Putin

lol

John Monarch

Finding out more he's been asking just about everyone he knows

John Monarch

Like Peter Nguyen

Ilya Putin

lol

llya Putin

hes retarded

John Monarch

yep - I'm going to find out if he's been spreading untrue BS about me

file:///Users/monarch/Downloads/facebook-papajohn56/html/messages.htm

Filed “eo Page 5

D

Saturday, December 21, 204

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 201

Saturday, December 21, 20

Saturday, December 21, 201

Saturday, December 21, 201

Monday, January 6, 201

Monday, January 6, 201

Monday, January 6, 201

f6

4/30/14, 5:47 pm

3 at 4:21pm EST

3 at 4:21pm EST

3 at 4:22pm EST

3 at 4:22pm EST

3 at 4:22pm EST

3 at 4:23pm EST

3 at 4:23pm EST

4 at 2:03pm EST

4 at 2:04pm EST

4 at 2:15pm EST

Monday, January 6, 2014 at 2:16pm EST

Monday, January 6, 201

Monday, January 6, 201

Monday, January 6, 201

4 at 2:16pm EST

A at 2:16pm EST

4 at 2:17pm EST

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John Monarch = Messages

file:// /Users/monarch/Downloads/facebook-papajohn56/html/messages.htm

Case eco" Document 12-6 Filed “ese Page 6

ill do itlater today

- Ilya Putin

; going to go through with it and then give him pace's payment details

John Monarch Thursday, January 16, 20114

in the mean time it may be a good idea for the DO logo to be off of PO

liya Putin Thursday, January 16, 2014

Na. | think it's time to do seo for his name/company names

llya Putin Thursday, January 16, 2014

and rank it #1-3

Ilya Putin Thursday, January 16, 2014

| can remove it if you'd like, let me know

John Monarch Thursday, January 16, 2014

Df 6

4/30/14, 5:47 PM

at 11:18am EST

at 11:19am EST

at 11:19am EST

at 11:20am EST

at 11:23am EST

yeah for now | think take the logo down until this is all over if you don't mind, it's easy to prove

you aren't me

Ilya Putin Thursday, January 16, 2074
kk
Ilya Putin Thursday, January 16, 2014

Gorman got his domain buy friend to make an offer on his behalf for one of the d
on the same host as PO. It's a random $7 domains and he's offering $22,000 for

John Monarch Saturday, January 25, 2014

Lmao

Downloaded by John Monarch on Tuesday, April 29, 2014 at 3:33pm EDT

at 11:23am EST

at 11:23am EST

Saturday, January 25, 2014 at 9:50pm EST

omains | own
it mao. I'm

at 10:18pm EST

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